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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                :
                                        :     CASE NO. 21-cr-381 (TSC)
             v.                         :
                                        :
STACY WADE HAGER,                       :
                                        :
                    Defendant.          :


                                      NOTICE

      The United States of America provides this notice that the Government’s

witness list has be provided to the Defense as required by this Court in its August 29,

2022, scheduling order. See ECF 35. Additionally, the Government will seek an in

camera review of a single excluded witness.

                                 Respectfully Submitted,

                                        MATTHEW M. GRAVES
                                        United States Attorney
                                        D.C. Bar No. 481052

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